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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA,

     v.
                                            Case No. 19-cr-10080-NMG
MOSSIMO GIANNULLI,

          Defendant.




   MOSSIMO GIANNULLI’S EMERGENCY MOTION TO MODIFY SENTENCE
                 PURSUANT TO 18 U.S.C. § 3582(c)(1)
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       Pursuant to 18 U.S.C. § 3582(c)(1)(A)(i), Defendant Mossimo Giannulli, by and through

his undersigned counsel, hereby moves the Court for an order modifying his term of imprisonment

by ordering that he be released from the custody of the Bureau of Prisons and serve the remaining

portion of his prison sentence in home confinement.

       As set forth in the accompanying Memorandum in Support of Mossimo Giannulli’s

Emergency Motion to Modify Sentence Pursuant to 18 U.S.C. § 3582(c)(1), Mr. Giannulli’s 56

days confined in solitary quarantine, in combination with the ongoing COVID-19 pandemic and

resulting Department of Justice guidance for BOP to reduce prison populations by releasing

eligible inmates to home confinement, present “extraordinary and compelling reasons” for the

Court to grant Mr. Giannulli’s requested relief. Mr. Giannulli is eligible under the statute for relief

from this Court, as more than 30 days has passed since Mr. Giannulli’s request for release to home

confinement was made to the Bureau of Prisons (“BOP”), and Mr. Giannulli has exhausted

administrative remedies by asking BOP to transfer him to home confinement, which request the

BOP has denied.

Dated: January 14, 2021                               Respectfully submitted,

                                                      /s/ William J. Trach
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                         LOCAL RULE 7.1(a)(2) CERTIFICATION

       I hereby certify that I conferred with Karin Bell, Assistant United States Attorney,

regarding this motion, and she stated that the Government opposes it.

                                                           /s/ William J. Trach
                                                           William J. Trach




                                CERTIFICATE OF SERVICE

       I certify that the foregoing document, which was filed with the Court through the CM/ECF

system, will be sent electronically to all registered participants as identified on the Notice of

Electronic Filing and that paper copies will be sent to those identified as non-registered

participants.

                                                           /s/ William J. Trach
                                                           William J. Trach




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